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                       IN THE UNITED STATES BANKRUPTCY COURT
                            FOR THE DISTRICT OF DELAWARE

 In re:                                             Chapter 11

 GIGAMONSTER NETWORKS,                              Case No. 23-10051 (JKS)
 LLC, et al.1,
                                                    (Jointly Administered)
                   Debtors.
                                                    Ref. Docket No. 363

          CERTIFICATE OF NO OBJECTION REGARDING DOCKET NO. 363

                  The undersigned hereby certifies that, as of the date hereof, she has received no

answer, objection, or other responsive pleading to the Second Monthly Application of M3 Advisory

Partners, LP for Allowance of Compensation for Services Rendered and Reimbursement of

Expenses as Financial Advisor to the Official Committee of Unsecured Creditors for the Period

from March 1, 2023, through March 31, 2023 [D.I. 363] (the “Application”) filed on May 12,

2023.

                  The undersigned further certifies that, as of the date hereof, she has reviewed the

Court’s docket in this case and no answer, objection or other responsive pleading to the Application

appears thereon.      Objections to the Application were to be filed and served no later than

4:00 p.m. (ET) on June 2, 2023.




    1
         The Debtors, along with the last four digits of each Debtor’s federal tax identification number, are
GigaMonster Networks, LLC (2854); Gigasphere Holdings LLC (0250); GigaMonster, LLC (3014); Fibersphere
Communications LLC (0163); and Fibersphere Communications of California LLC (5088). The Debtors’ business
address is 350 Franklin Gateway, Suite 300, Marietta, GA 30067.


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                  Pursuant to the Order Establishing Procedures for Interim Compensation and

Reimbursement of Expenses for Professionals [D.I. 122], the Debtors are now authorized to pay

80% ($24,516.00) of requested fees ($30,645.00) and 100% of requested expenses ($408.17) on a

monthly basis without further Court order.



    Dated: June 5, 2023                  FAEGRE DRINKER BIDDLE & REATH LLP

                                         /s/ Jaclyn C. Marasco
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                                         Jaclyn C. Marasco (Bar No. 6477)
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                                         -and-

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                                         Counsel to the Official Committee of Unsecured
                                         Creditors




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